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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

    In re:

    Yueting Jia1                                            Chapter 11

                     Debtor.                                Case No. 19-12220 (KBO)

                                                            Re: Doc Nos. 89, 111




   JOINDER OF JIANGYIN HAILAN INVESTMENT HOLDING CO., LTD. TO
    OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ RESPONSE TO
SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD.’S MOTION (I) TO DISMISS
 THE DEBTOR’S CHAPTER 11 CASE OR, ALTERNATIVELY, (II) TO TRANSFER
          VENUE TO THE CENTRAL DISTRICT OF CALIFORNIA


             Jiangyin Hailan Investment Holding Co., Ltd. (“Jiangyin Hailan”) creditor and party in

interest in the above-captioned case, by and through its undersigned counsel, hereby joins in the

Response of the Official Committee of Unsecured Creditors (the “Committee”) to Shanghai Lan

Cai Asset Management Co, Ltd.’s (“Lan Cai”) Motion (i) to Dismiss the Debtor’s Chapter 11

Case or, Alternatively, (ii) to Transfer Venue to the Central District of California (the

“Objection”) filed by the Committee on December 5, 2019 [Doc. No. 111].

             Jiangyin Hailan agrees with and supports the Objection, and incorporates the arguments

set forth in it as though fully set forth herein. Accordingly, for the reasons set forth in the

Objection, Jiangyin Hailan requests that Lan Cai’s Motion to Dismiss be denied and for such

other and further relief as the Court deems proper.




1
 The last four digits of the Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275.
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Dated: December 15, 2019

                                   Respectfully submitted,


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                                    Co., Ltd.
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                                     CERTIFICATE OF SERVICE

        I, Matthew P. Austria, hereby certify that on the 15th day of December, 2019, I caused a true and

correct copy of the foregoing Joinder of Jiangyin Hailan Investment Holding Co., Ltd. to Official

Committee of Unsecured Creditors’ Response to Shanghai Lan Cai Asset Management Co, Ltd.’s Motion

(i) to Dismiss the Debtor’s Chapter 11 Case or, Alternatively, (ii) to Transfer Venue to the Central District

of California to be served on the following parties in the manner indicated below as well as on all parties

receiving service through the Electronic Case Filing (ECF) system via electronic mail in this case:

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Dated: December 15, 2019           AUSTRIA LEGAL, LLC

                                   /s/ Matthew P. Austria
                                   Matthew P. Austria (No. 4827)
